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Case: 1:95-cr-00242 Document #: 2033 Filed: 01/14/15 Page 1 of 1 Page|D #:ZSM/

AO 247 (Rev. 1 1/|1) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(€)(2) Page 1 of2 (Page 2 Not for Public Di closure)

 

UNITED STATES DISTRICT CoURT

for the

Northern District of Illinois - Eastern Division

United States of America

v. )
ANDREW PATTERSON § Case No: 9577C77r7772472 ;7177 7 7 nii fffff
) USM No: 0677595-747247 7 7777 7 7 7 nw
Date of Original Judgment: 717/7370/1998 )
Date of Previous Amended Judgment: 72/5/727(7)12 7 ) Heather Winslow ii j
(Use Dale of Last A mendea' Judgment ifA ny) Defena’anl S /lllorney

oRDER REGARI)ING MoTIoN FoR SENTENCE REDUCTION
PURSUANT To 18 U.s.C. § 3582(¢)(2)

Upon motion of X the defendant III the Director of the Bureau of Prisons CI the court under 18 U.S.C.
§ 3582(0)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §lB l .lO
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,

IT IS ORDERED that the motion is:
EI DENIED. X GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected m
the lastjudgmem issued) of 77 7 382 l\7/71o7n77ths months is reduced to 7 330 Months77 7 7 7 7

(Complete Parts 1 and ll ofPage 2 when motion is granted)

Except as otherwise provided, all provisions of the judgment dated 2/5/2012 shall remain in effect
IT IS SO ORDERED.

Order Date: 1/147/27(7)15

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Effective Date: 7 l l/l/“: 7 777
llfdzjj’erentfrom order dale) Prlntea' name and title

 

 

